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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 MARK CROUCH,

        Plaintiff,
                                                 Case No. 1:20-cv-353
 v.
                                                 HONORABLE PAUL L. MALONEY
 OCONNOR CORPORATION, et al.,

        Defendants.
 ____________________________/


                                ORDER OF DISMISSAL

      This Court having sent to counsel for Plaintiff a Notice of Impending Dismissal as to

Defendant Brian Avery Smith (ECF No. 16) and having heard no response:

      NOW THEREFORE, pursuant to Rule 4(m) of the Federal Rules of Civil Procedure, this

matter is hereby DISMISSED as to Defendant Brian Avery Smith without prejudice.

               IT IS SO ORDERED.



Dated: July 17, 2020                                    /s/ Paul L. Maloney
                                                       Paul L. Maloney
                                                       United States District Judge
